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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


Criminal Case No. 22-cr-00202-RM

UNITED STATES OF AMERICA,

                 Plaintiff,

v.

     1.        DHRUV JANI,
     2.        JAMES ALBERT WITTE, and
     3.        JASON LEE HENDERSON,

                 Defendants.



           ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS


          Upon consideration of the Government's Motion to Disclose Grand Jury Materials

under Specified Conditions to Attorneys for the Defendants Pursuant to Fed. R. Crim. P.

6(e)(3)(E)(i), it is

          ORDERED that a copy of the transcripts of testimony given before the grand jury

and other grand jury materials may be disclosed to the attorneys for the defendants for

preparation for trial.

          IT IS FURTHER ORDERED that:

          1.     Defense counsel make only such copies as are necessary to prepare a

          defense of this criminal case;

          2.     Defense counsel keep a written record concerning how many copies were

          made, to whom those copies were delivered, and the date of delivery, and that

          defense counsel deliver a copy of this Order allowing disclosure with the
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      materials;

      3.     Defense counsel provide the defendants with reasonable access to the

      grand jury materials, but that defense counsel not allow the defendants to retain

      copies of any grand jury materials;

      4.     No person, other than defense counsel, make any copy of the grand jury

      materials for any purpose; and

      5.     At the conclusion of the case in this Court, by entry of the Court’s

judgment, defense counsel shall collect all such copies (with the exception of defense

counsel’s copy) and return them to the government within ten days or upon agreement,

shred said copies.



      Dated this            day of August, 2022, at Denver, Colorado.


                                         BY THE COURT:


                                         _____________________________
                                         HON. RAYMOND P. MOORE
                                         United States District Judge
